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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                         PACIFIC STRUCTURES, INC,
                                   7                                                          Case No. 21-cv-04438-HSG
                                                         Plaintiff,
                                   8
                                                  v.                                          CONDITIONAL ORDER OF
                                   9                                                          DISMISSAL
                                         GREENWICH INSURANCE COMPANY,
                                  10                                                          Re: Dkt. No. 86
                                                         Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                               The Court having been advised that the parties have agreed to a settlement of this case,
                                  13

                                  14           IT IS HEREBY ORDERED that this case be dismissed with prejudice; provided, however,

                                  15   that if any party hereto shall certify to this Court, with proof of service of a copy thereon on

                                  16   opposing counsel, within 45 days from the date hereof, that the agreed consideration for said
                                  17
                                       settlement has not been delivered over, the foregoing Order shall stand vacated and this case shall
                                  18
                                       forthwith be restored to the calendar to be set for trial.
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                                  20   Dated: 2/5/2025

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                                                                                                     HAYWOOD S. GILLIAM, JR.
                                  23                                                                 United States District Judge
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